                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

MICHAEL ALLEN ATKINS                               )
                                                   )
                                                   )
v.                                                 )   No.     1:11-cv-78/1:09-cr-95
                                                   )           Judge Curtis L. Collier
UNITED STATES OF AMERICA                           )

                                         MEMORANDUM

        Michael Allen Atkins (“Atkins”) has filed a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 (Criminal Court File No. 350).1 Atkins contends his sentence should

be vacated because, inter alia, it was “outside” his guidelines range. The government has filed its

response in opposition (Criminal Court File No. 365).            After reviewing the record and the

applicable law, the Court concludes Atkins’ motion for equitable tolling will be DENIED since his

§ 2255 motion was timely filed (Criminal Court File No. 374), and because his § 2255 motion is

without merit, it will be DENIED for the reasons set forth herein (Criminal Court File No. 350).

I.      STANDARD OF REVIEW

        A sentence in a criminal case must be vacated if the Court makes a finding “the judgment

was rendered without jurisdiction, or that the sentence imposed was not authorized by law or

otherwise open to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .”

28 U.S.C. § 2255(b).

        To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error must be

one of constitutional magnitude which had a substantial and injurious effect or influence on the


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              Each document will be identified by the Court File Number assigned to it in the
underlying criminal case.


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proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (citation omitted); Humphress v.

United States, 398 F.3d 855, 858 (6th Cir. 2005); Clemmons v. Sowders, 34 F.3d 352, 354 (6th Cir.

1994). When the alleged error is neither jurisdictional nor constitutional, then the alleged error must

constitute a “fundamental defect which inherently results in a complete miscarriage of justice.”

Reed v. Farley, 512 U.S. 339, 348, (1994). The standard of review for nonconstitutional claims is

that claims not raised at trial or on direct appeal are waived for collateral review under § 2255 unless

the errors amount to a denial of due process. Grant v. United States, 72 F.3d 503 (6th Cir.), cert.

denied, 517 U.S. 1200 (1996). Society has a substantial interest in the finality of judgments,

therefore, collateral relief is appropriate only where there has been fundamental unfairness, or what

amounts to a breakdown of the trial process. Id. at 506. “Nonconstitutional errors, such as mistakes

in the application of the sentencing guidelines, will rarely, if ever, warrant relief from the

consequences of waiver.” Id.

       An evidentiary hearing is unnecessary if there are no material issues of fact in dispute or if

the record conclusively demonstrates the movant is not entitled to relief under § 2255. An

evidentiary hearing is not required if the movant’s allegations cannot be accepted as true because

they are contradicted by the record, inherently incredible, or mere conclusions rather than statements

of fact. Amr v. United States, 280 Fed. Appx. 480,485 (6th Cir. 2008), available at 2008 WL

2246367; Valentine v. United States, 488 F.3d 325 (6th Cir. 2007). The movant bears the burden

of articulating sufficient facts to state a viable claim for relief under 28 U.S.C. § 2255. Mere vague

conclusions, which are not substantiated by allegations of specific facts with some probability of

verity, are not enough to warrant an evidentiary hearing. Green v. Wingo, 454 F.2d 52,53 (6th Cir.

1972; O’Malley v. United States, 285 F.2d 733, 735 (6th Cir. 1961). Under Rule 8 of the Rules


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Governing Section 2255 Proceedings In The United States District Courts, the Court is to determine

after a review of the answer and the record whether an evidentiary hearing is required. If no hearing

is required, the district judge is to dispose of the case as justice dictates. The Court finds it

unnecessary to hold an evidentiary hearing in the present case.

II.      Procedural Background

         On May 27, 2009, the Grand Jury indicted Atkins and eleven others in a sixty-nine-count

indictment (Criminal Court File No. 1).       Atkins was named in eight counts in relation to

manufacturing and distributing methamphetamine (Criminal Court File No. 1). The government

filed notice of intent to enhance Atkins’ sentence pursuant 21 U.S.C. § 851 on October 7, 2009

(Criminal Court File No. 177). Subsequently, on October 28, 2009, pursuant to a plea agreement,

Atkins entered a guilty plea to a lesser-included offense of Count One, that is, a conspiracy to

manufacture and distribute fifty grams or more of a mixture and substance containing a detectable

amount of methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(B) (Court File

No. 185, 188, & 189). The Court sentenced Atkins to 80 months on Count One and dismissed the

other counts on motion of the government (Criminal Court File Nos. 329, 332). Atkins did not

pursue a direct appeal. Rather, he sent a letter on February 24, 2011 (Criminal Court File No. 346),

which the Court construed as a request to have his sentenced reviewed, and therefore, directed the

clerk to send Atkins the proper forms to file a motion pursuant to 28 U.S.C. § 2255 (Criminal Court

File No. 349). Atkins subsequently filed a timely § 2255 motion on March 31, 2011 (Criminal Court

File No. 350).2


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             The government, noting Atkins was sentenced on March 18, 2010, claims his § 2255,
which was docketed by the Clerk on April 6, 2011, is untimely filed (Criminal Court File No. 365).
The government is incorrect. Although Atkins was sentenced on March 18, 2011, his judgment of

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       Atkins alleges the following: (1) his sentence is outside of his guidelines, (2) he has not

received confirmation that a Rule 35 motion has been filed on his behalf and counsel advised he

would receive half off of his sentence, (3) he was told his federal time would run with his state time,

and (4) his sentence is unconstitutional due to the cumulation of the first three alleged errors.

III.   Factual Background

       The following pertinent facts are taken from “The Offense Conduct” section of the

Presentence Investigation Report (“PSR”) prepared by the United States Probation Office:

       77. In 2008, agents from the Georgia Bureau of Investigation (GBI) and the Drug
       Enforcement Administration (DEA) began investigating a methamphetamine
       production and trafficking organization in the Eastern District of Tennessee and the
       Northern District of Georgia. The individuals involved were producing
       “home-made” methamphetamine using precursor chemicals provided by members
       of the organization. Various members of the organization engaged in the “smurfing”
       process, making regular and frequent trips to commercial businesses to purchase the
       materials necessary to cook methamphetamine. When locally produced
       methamphetamine slowed, the organization had members whose primary
       responsibility was to procure and redistribute so-called “ice” methamphetamine,
       largely from sources of supply in the state of Georgia. Investigators determined that
       the conspiracy began in 2006 and continued into 2009.

       78. Defendant Michael Atkins entered into an agreement with others to manufacture
       methamphetamine and his role consisted primarily of purchasing precursor



conviction was not entered until March 25, 2010, and it did not become final until April 8, 2010,
after the expiration of time for filing a direct appeal (Criminal Court File No. 332). Atkins
“declare[d] . . . under penalty of perjury that . . . this Motion under 28 U.S.C. § 2255 was placed in
the prison mailing system on March 31, 2011.” (Criminal Court File No. 350, p. 13). Therefore,
pursuant to the mailbox rule, see Houston v. Lack, 487 U.S. 266, 270-71 (1988), it is deemed filed
on March 31, 2011. Atkins judgment was entered on March 25, 2010 (Criminal Court File No. 332).
Atkins did not pursue a direct appeal, thus his judgment of conviction became final on the date on
which the time for filing an appeal expired. United States v. Cottage, 307 F.3d 494, 499 (6th Cir.
2002). The 2009 amendments to the Federal Rules of Appellate Procedure provides that Atkins had
14 days to file an appeal. Atkins judgment of conviction was entered on March 25, 2010, which
means his conviction became final fourteen days later–April 8, 2010. The one-year statue of
limitation for filing a § 2255 motion began on April 9, 2010, and expired on or about April 8, 2011.
Therefore, using either March 31, 2011, or April 6, 2011, the motion is timely.

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         chemicals, such as pseudoephedrine, for use in the manufacture of
         methamphetamine.

         79. On April 17, 2008, investigating agents obtained a search warrant for Mr.
         Atkins’ home in Walker County, Georgia. When that warrant was executed, law
         enforcement discovered a methamphetamine laboratory on the premises. In addition,
         business records obtained by the government revealed that the defendant made
         voluminous purchases of pseudoephedrine in the Eastern District of Tennessee
         between November of 2006 and December of 2007. The business records establish
         that Mr. Atkins purchased more than 54 grams of pseudoephedrine during that time
         frame.

         80. Agents interviewed at least eight other witnesses and co-conspirators involved
         in the instant offense and those individuals confirmed that Mr. Atkins was a knowing
         and voluntary participant in the conspiracy. The statements made by these
         individuals generally corroborated one another.

       81. Based upon their investigation, agents have determined that Mr. Atkins was
       directly or indirectly personally responsible for the manufacture and distribution of
       in excess of 50 grams of methamphetamine mixture during the time frame of the
conspiracy. Further, during the time frame of the conspiracy, the defendant purchased at least 54
grams of pseudoephedrine. The Drug Equivalency Tables at USSG §2D1.1 equate one gram of
pseudoephedrine to 10 kilograms of marijuana. Using that formula, the defendant is responsible for
the equivalent of 540 kilograms of marijuana. Pursuant to
                                       USSG §2D1.1(c)(6), at
                                       least 400 kilograms,
                                       but less than 700
                                       kilograms, ofmarijuana will establish a base offense level of 28.

(PSI).

IV.      ANALYSIS

         Although Atkins does not specifically allege he received ineffective assistance of counsel

in relation to his claims, in the supporting facts he mentions counsel’s advice. To the extent, he is

attacking his sentence and not counsel’s advice or performance during sentencing, he has

procedurally defaulted the claims as they should have been raised on direct appeal. Challenges that

should have been raised on direct review but were not raised will not be addressed by habeas courts

unless cause is shown for the tardy challenge and “actual prejudice” resulting from the error is

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demonstrated, United States v. Frady, 456 U.S. 152, 167-68 (1982); or that the movant is actually

innocent of the crime. See Bousley v. United States, 523 U.S. 614 (1998).       To the extent Atkins

is attacking his sentence, he is not entitled to relief as he alleges neither cause and prejudice nor

actual innocence.

       However, because he mentions counsel’s advice, the Court discerns he is claiming counsel’s

advice and representation in relation to his sentence were ineffective. To establish ineffective

assistance of counsel a movant must demonstrate, as established by the Supreme Court in Strickland

v. Washington, 466 U.S. 668 (1984), two essential elements: (1) counsel’s performance was

deficient, i.e., below the standard of competence demanded of attorneys in criminal cases; and (2)

counsel’s deficient performance prejudiced the defense, i.e. deprived the defendant of a fair trial

rendering the outcome of the trial unreliable. Id. at 687-88. In plea proceedings, the movant must

show but for counsel’s deficient performance, he would not have pleaded guilty. Hill v. Lockhart,

474 U.S. 52, 58-59 (1985). To demonstrate a reasonable probability that he would have gone to

trial, a defendant is required to present evidence apart from a lone assertion that but for counsel’s

error he would have pleaded not guilty and gone to trial. See Parry v. Rosemeyer, 64 F.3d 110, 118

(3rd Cir. 1995). The standard by which a court reviews counsel’s performance is highly deferential,

and there is a strong presumption that counsel’s conduct was within the wide range of reasonable

professional assistance. Strickland, 466 U.S. at 689; Sims v. Livesay, 970 F.2d 1575, 1579-80 (6th

Cir. 1992). Atkins submits several claims of ineffective assistance of counsel which the Court will

address separately.

       At the outset, however, the Court notes Atkins has not met his burden of proving prejudice

i.e., a reasonable probability that he would have gone to trial, as he has not even made an allegation


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to that effect, much less presented argument with factual assertions demonstrating a reasonable

probability but for counsel’s alleged deficient performance, he would have proceeded to trial. This

conclusion is further supported by the relief Atkins requests, i.e., resentence him to the bottom of

a guideline range of 46-78 months, give him a Rule 35 reduction, and run his federal and state

sentence concurrently. Accordingly, Atkins has not demonstrated he suffered any prejudice, or, as

explained below, that counsel’s performance was deficience.

        A.     Unconstitutional Sentence

        In his first claim, Atkins alleges he was sentenced in violation of his constitutional rights

when the Court sentenced him outside his guidelines to a term of 80 months in the custody of the

Bureau of Prisons. Specifically, Atkins claims counsel advised him he would be sentenced at the

bottom end of his “PSI” guidelines which Atkins incorrectly claims were 46 to 78 months (Criminal

Court File No. 350).

        In this case, Atkins pleaded guilty to conspiracy to manufacture, distribute, and possess 50

or more grams of a methamphetamine mixture. Because he had a prior conviction for a felony drug

offense, he was facing a minimum mandatory sentence of ten years and up to a life sentence

pursuant to the statute. 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). Atkins was advised by the Court on

more than one occasion that he was facing a mandatory minimum sentence of ten years, a sentence

which he assured the Court he understood he was facing. Although the guidelines were calculated

at 63 to 78 months imprisonment based on a total offense level of 25 and a criminal history category

of II, those

were not Atkins’ guidelines because the statute required a minimum term of ten years imprisonment.

Therefore, Atkins’ guideline term was effectively 120 months.


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        The Court, however, departed from the guideline range based on the filing of a § 5K1.1

motion by the government advising the Court of Atkins’ substantial assistance. The Court

concluded his cooperation warranted a reduction to the range of 78 to 97 months which is found

under offense level 27, criminal history category II. The Court ultimately sentenced Atkins to the

low end of those guidelines i.e., an 80 month term of imprisonment (Criminal Court File No. 361,

pp. 9, 19).

        Although both the Sentencing Guidelines and the statutory mandatory minimums are

involved in determining punishment, a mandatory minimum remains unaltered by Guideline

provisions. Indeed, it is irrefutable that where the Sentencing Guidelines and the statutory

mandatory minimums are in conflict, the statue controls. See United States v. Jones, 569 F.3d 569,

572 (6th Cir. 2009) (“When the statutory-minimum sentence is greater than the top of the guideline

range calculated by the sentencing court, the statutory minimum effectively trumps the guideline

range and becomes the ‘guideline sentence.’ USSG § 5G1.1(b).”);United States v. Garcia-Ortiz, 528

F.3d 74, 84–85 (1st Cir.2008) (“The Guidelines cannot supersede the controlling federal statute”);

United States v. Eggersdorf, 126 F.3d 1318, 1320 (11th Cir.1997) (“The statute controls in the event

of a conflict between the guideline and the statute.”); United States v. Sharp, 883 F.2d 829, 831 (9th

Cir.1989) (“[W]hen a statute requires a sentence different than set by the guidelines, the statute

controls.”). The Sentencing Guidelines acknowledge this order. See USSG § 5G1.1 (“Where a

statutorily required minimum sentence is greater than the maximum of the applicable guideline

range, the statutorily required minimum sentence shall be the guideline sentence”). Therefore,

Atkins sentence was properly based on the statutory mandatory minimum sentence.

        Here, not only is Atkins’ sentence constitutional, his claim counsel told him he would be


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sentenced to the lower end of his “PSI” guidelines is clearly refuted by his plea agreement and sworn

statements–under oath and penalty of perjury–during his plea hearing (Criminal Court File No. 364).

Nevertheless, even if counsel told Atkins he would be sentenced at the bottom end of this “PSI”

guidelines range, this alleged misinformation was corrected by Atkins’ plea agreement as well as

the Court’s colloquy with him during his plea hearing. The plea hearing transcript clearly reflects

any incorrect advice regarding Atkins’ sentence was corrected when the Court carefully explained

to Atkins, and Atkins unequivocally acknowledged he understood, that his sentence would be driven

by the mandatory statutory minimum of ten years (Criminal Court File No. 189; Criminal Court File

No. 364, p. 16, 18).

       Specifically, Atkins signed his plea agreement prior to entry of his guilty plea, and the

agreement clearly notified him that because he had a prior felony drug conviction, he was facing a

minimum mandatory sentence of ten (10) years up to a maximum of life; supervised release for at

least eight (8) years; fine up to $4,000,000.00; any lawful restitution; and a $100.00 special

assessment (Criminal Court File No. 189, p. 1). Moreover, during his plea hearing and prior to

accepting his guilty plea, the Court had the government advise Atkins he was facing a sentence of

ten years to life, and he acknowledged he understood the penalties he was facing, as well as all of

the possible consequences of his plea (Criminal Court File No. 364, pp. 16, 18).

       The Court explained to Atkins’ that his plea could possibly affect the state sentence he was

serving, and Atkins acknowledged he understood such a possibility existed (Criminal Court File No.

364, p. 20). The Court further advised Atkins he could be sentenced to the maximum penalty of life.

Further, Atkins was specifically advised his sentence might be different from any estimated sentence

counsel may have discussed with him. Atkins acknowledged his understanding his sentence could


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be different than what counsel may have estimated for him and that the Court could depart upward

or downward from his sentencing range (Criminal Court File No. 364, pp. 21-22).

       Atkins was clearly placed on notice in his written plea agreement and during his plea hearing

that a statutory mandatory minimum sentence of ten years applied to his offense. Moreover, Atkins,

who is a high school graduate, acknowledged during his plea colloquy that he understood the

mandatory minimum sentence was ten years. Atkins expressed no confusion or reservations about

the mandatory minimum sentence he was facing and did not mention, as he now alleges, that counsel

advised him he would be sentenced at the bottom end of his “PSI” guidelines. Atkins sworn

statements during his plea hearing, which carry great weight, contradict his current claims.

Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court carry a strong

presumption of verity.”). Weighing Atkins factually unsupported assertions in his § 2255 motion

against the evidence of his sworn statements during his plea colloquy, the Court concludes his oral

sworn statements during his plea hearing undermine his alleged understanding he would be

sentenced at the bottom end of his “PSI” guidelines.

       Accordingly, because Atkins sentence was not imposed in violation of the Constitution, any

law of the United States, or in excess of the maximum authorized by law, and he has not

demonstrated counsel performed deficiently and that as a result he was prejudiced, relief will be

DENIED on this claim.

       B.      Rule 35 Motion

       Atkins’ second claim is confusing pled as he claims he never received confirmation he would

receive a Rule 35 motion for agreeing to testify in a trial against his codefendant. In addition, he

claims counsel advised him he would receive “half of my time off.” (Criminal Court File No. 350).


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       First, Atkins has not received notice a Rule 35 motion was filed on his behalf for agreeing

to testify against his codefendant because, as the Court’s CM/ECF docket reflects, no such motion

has been filed.    What was filed on Atkins’ behalf for his substantial assistance was a § 5K1.1

motion filed by the government because Atkins was willing to testify against his co-defendants

which convinced them to plead guilty rather than go to trial (Criminal Court File No. 361, p. 8).

Atkins was rewarded for his substantial assistance when he was sentenced to 80 months

imprisonment, which is well below the 120 month mandatory minimum sentence he was facing.

       Atkins’ factually unsupported claim that counsel advised him he would receive “half of my

time off” for his cooperation is clearly refuted by his statements–under oath and penalty of

perjury–to the Court during his rearraignment. Atkins was notified and he acknowledged during his

rearraignment and by signing his plea agreement that he was facing a minimum mandatory term of

ten years up to a maximum of life; that the Court could impose any lawful term of imprisonment up

to the statutory maximum; the government had the sole discretion of whether to notify the Court of

Atkins’ cooperation, and any estimates or predictions made to him by defense counsel or any other

person regarding his potential sentence are not binding on the Court (Criminal Court File Nos.

189–Plea Agreement; 364–Rearraignment Transcript, pp. 10, 16, 18). In addition, Atkins was

notified and he acknowledged he understood that regardless of what the government recommends,

the

Court could impose a sentence that was more severe than what he anticipates (Criminal Court File

No. 364, p. 12).

       As the Supreme Court of the United States instructed in Blackledge v. Allison:


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        [T]he representations of the defendant, his lawyer, and the prosecutor at [a plea
        hearing], as well as findings made by the judge accepting the plea, constitute a
        formidable barrier in any subsequent collateral proceedings. Solemn declarations in
        open court carry a strong presumption of verity. The subsequent presentation of
        conclusory allegations unsupported by specifics is subject to summary dismissal, as
        are contentions that in the face of the record are wholly incredible.

Id. at 74.

        Atkins allegations are unsupported with any specific facts. Atkins has not identified the

exact terms of the alleged promise by counsel, when and where the promise was made, and the

precise identity of everyone that was present when the alleged promise was made. Consequently,

absent independent evidence that disputes Atkins’ testimony which he gave under oath and penalty

of perjury during his rearraignment, his claim that counsel told him he “would receive half of my

time off” fails. Accordingly, because Atkins has failed to submit any credible, independent evidence

which would dispute his sworn statements during his rearraignment, he has failed to demonstrate

he received ineffective assistance of counsel in this regard and relief will be DENIED.

        C.     Concurrent Sentences

        As the Court discerns Atkins third claim, he alleges counsel, an unidentified federal officer,

and the “D.A.” informed him his time would start at the time of his arrest and it would run with his

state time. Contrary to Atkins’ allegations, neither the written plea agreement nor the transcript of

the rearraignment hearing refer to his federal sentence running concurrent with his state sentence

and both refute this claim. First, nothing in the plea agreement indicates this promise was made to

Atkins as there is absolutely no reference to his federal sentence running concurrently with his state

sentence. Indeed, Atkins’ plea agreement, which he signed, specifies the following: “No promises

have been made by any representative of the United States to the defendant as to what the sentence

will be in this case. Any estimates or predictions made to the defendant by counsel or any other

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person regarding the potential sentence in this case are not binding on the Court. The defendant

understands that the sentence in this case will be determined by the Court after it receives the pre-

sentence report from the United States Probation Office and any information presented by the

parties.” (Criminal Court File No. 189, p. 6, ¶ 11) (emphasis added).

       Second, in addition to there being absolutely no reference in Atkins’ plea agreement that his

federal sentence will run concurrently with his state time or an agreement that his federal sentence

would begin to run on the date of his arrest and concurrently with his state sentence, paragraph

fourteen of Atkins’ plea agreement refutes this claim, as it provides,

       14. This plea agreement constitutes the full and complete agreement and
       understanding between the parties concerning the defendant’s guilty plea to the
       above-referenced charge(s), and there are no other agreements, promises, or
       undertakings between the defendant and the United States. The parties understand
       and agree that the terms of the this plea agreement can be modified only in writing
       signed by all of the parties and that any and all other promises, representations, and
       statements whether made before, contemporaneous with, or after this agreement, are
       null and void.

(Criminal Court File No. 189, p. 8) (emphasis added).

       In addition, during the rearraignment, there was no discussion about Atkins’ federal sentence

running concurrently with his state sentence. The first reference to Atkins state sentence was when

counsel told the Court, “Mr. Atkins is currently serving a sentence from the Georgia Department of

Corrections, so he’s not on probation, he’s serving a sentence.” (Criminal Court File No. 364, p. 19).

The Court explained: “Mr. Atkins, I guess you need to know that it’s a possibility it could affect

something related to your sentence, but I don’t know what that would be since you’re currently

serving a sentence, but I suppose it could affect whether or not you get parole from your state

institution.” (Criminal Court File No. 364, p. 20). Atkins’ acknowledged he understood.




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       During his sentencing hearing, there was no mention of Atkins’ federal sentence running

concurrent with his state sentence, and that would have been the time for Atkins’ to raise the

allegations he raises now (Criminal Court File No. 361).          As previously noted, “[s]olemn

declarations in open court carry a presumption of verity, forming a formidable barrier in any

subsequent collateral proceeding.” Blackedge v. Allison, 431 U.S. at 74. Once again, Atkins has

failed to bolster his bald allegation with any facts to support his factually baseless claim that his

attorney, “the federal office and the D.A. informed [him] they would start [his] time at the time of

[his] arrest and it would run with [his] state time.” (Criminal Court File No. 350).

       This factually baseless claim violates Rule 2 of the Rules Governing Section 2255

Proceedings for the United States District Courts. Rule 2(b)(2). Atkins has not precisely identified

the “federal office” or “D.A.” who allegedly made this promise. Moreover, he has not shown the

exact terms of the alleged promise, and when and where the promise was made. Atkins’ failure to

support this allegation with independent evidence that disputes his plea agreement and the testimony

which he gave during his rearraignment, has resulted in an inadequate claim. Because Atkins has

failed to provide any factual support and come forward with any credible, independent evidence

which would dispute his signed plea agreement and testimony under oath and penalty of perjury

during his rearraignment, his claim fails. Accordingly, Atkins will be DENIED relief on the claim

he was told his federal sentence would start at the time of his arrest and run concurrently with his

state sentence.

       D.         Cumulative Error Claim

       In his fourth claim, as the Court understands it, Atkins claims that a cumulation of the above

alleged errors have resulted in a constitutional error. Thus, Atkins claims that the totality of the


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alleged errors require the granting of the § 2255 motion. None of Atkins other assertions constitutes

ineffective assistance of counsel under Strickland. Thus, Atkins has been unable to establish any

deficient conduct or resulting prejudice as to even one of his allegations. Accordingly, because

meritless claims or claims that did not result in prejudice cannot be cumulated, Atkins has failed to

demonstrate he suffered from cumulative errors of a constitutional dimension. See Moore v. Parker,

425 F.3d 250, 256 (6th Cir. 2005) (“But we have held that, post-AEDPA, not even constitutional

errors that would not individually support habeas relief can be cumulated to support habeas relief”).

Accordingly, relief will be DENIED on Atkins’ cumulative error allegation.

V.      Conclusion

        For the reasons set forth above, the Court concludes Atkins is not entitled to any relief under

28 U.S.C. § 2255 as his sentence is not in violation of the Constitution or laws of the United States.

A separate judgment will enter DENYING Atkins’s § 2255 motion (Criminal Court File No. 350).

        An appropriate judgment will enter.



                                               /s/
                                               CURTIS L. COLLIER
                                               UNITED STATES DISTRICT JUDGE



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